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✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                              WESTERN                                                  DISTRICT OF                                      VIRGINIA


                     WALTER SCOTT LAMB
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                  LIBERTY UNIVERSITY, INC.                                                                             Case Number: 6:21CV00055

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Hon. Norman K. Moon                                                Ian Northon & Andrew Bodoh                               Scott Oostdyk & Heidi Siegmund
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 12/16/2021 - 12/17/2021                                            Mary Butenschoen                                         Carmen Amos
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

             1       12/16/2021           Yes           Yes         Curriculum Vitae of J. Christopher Racich, Vestigant LLC, President (Racich)

             2       12/16/2021           Yes           Yes         Liberty University Christian Conservative Action Plan (Racich)

             3       12/16/2021           Yes           Yes         Liberty University Falkirk Center Budget (Racich)

             4       12/16/2021           Yes           Yes         C2AP Influencers (Racich)

             5       12/16/2021           Yes           Yes         Performance Report - March 28, 2021 to April 3, 2021 (Racich)

             6       12/16/2021           Yes           Yes         Performance Report - Week of April 4, 2021 (Racich)

             7       12/16/2021           Yes           Yes         Performance Report - Week of April 25, 2021 (Racich)

             8       12/16/2021           Yes           Yes         Performance Report - Week of May 2, 2021 (Racich)

             9       12/16/2021           Yes           Yes         The Falkirk Center for Faith & Liberty Handbook (Racich)

            10       12/16/2021           Yes           Yes         Draft Memo of Understanding (Racich)

            11       12/16/2021           Yes           Yes         Standing for Freedom Center - Initiatives and Programming (Racich)

            12       12/16/2021           Yes           Yes         Standing for Freedom Center - How Can We Best Utilize/Leverage Glenn Clary (Racich)

            13       12/16/2021           Yes           Yes         Confidential Memo dated 3/18/2019 from Mark Serrano (Racich)

            14       12/16/2021           Yes           Yes         Confidential Memo dated 5/22/2019 from Mark Serrano (Racich)

            15       12/16/2021           Yes           Yes         Confidential Memo dated 7/1/2019 from Mark Serrano (Racich)

            16       12/16/2021           Yes           Yes         Memo of Understanding re LU and Falkirk Center with tracked changes (Racich)

            17       12/16/2021           Yes           Yes         Liberty University Employee Handbook (Gauger)

            18       12/16/2021           Yes           Yes         New Employee Orientation Meeting Attendance Sign In Sheet of 1/2/2018 (Foster)

            19       12/16/2021           Yes           NO          Screenshots regarding Consumer Information - (STRUCK)

            20       12/16/2021           Yes           NO          Screenshots of Electronically Disseminated Information dated 6/29/2018 - (STRUCK)

            21       12/17/2021           Yes           Yes         Transcript of 10/27/2021 Interview of Scott Lamb by Cynthia Beasley (Lamb)

            22       12/17/2021           Yes           Yes         Transcript of 10/29/2021 Interview of Scott Lamb by Julie Roys/The Roys Report (Lamb)
* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    2   Pages
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✎AO 187A (Rev. 7/87)                EXHIBIT AND WITNESS LIST – CONTINUATION
                                                                                                   CASE NO.
         WALTER SCOTT LAMB                  vs.        LIBERTY UNIVERSITY, INC.                    6:21CV00055
 PLF.    DEF.     DATE
                             MARKED ADMITTED                                 DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.     NO.    OFFERED

  1             12/17/2021    Yes     Yes         Confidential Employee Authorization dated 9/22/2020 (---)




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